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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


PATRICK RUDDY                                 :           CIVIL ACTION

               v.                             :

NCO FINANCIAL SYSTEM, INC.                    :          NO. 10-7085


                                         ORDER

               AND NOW, TO WIT: this 11th day of May, 2011, it having been reported

that the issues between the parties in the above action have been settled and upon Order

of the Court pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure

of this Court, it is

               ORDERED that the above action is DISMISSED with prejudice, pursuant to

agreement of counsel without costs.



                                              MICHAEL E. KUNZ, Clerk of Court


                                              BY:    s/Charles J. Ervin
                                                    Charles J. Ervin, Deputy Clerk
